
Ingraham, J. (dissenting).
I am unable to agree with my associates in affirming the judgment in this action. It appears that no process of any kind was • ever served upon the defendant in any suit in the court of common pleas of Northampton county in which the plaintiff in this action was plaintiff, and that the defendant never appeared in such action, and that no suit or action in such court ever came to the defendant’s knowledge.
*489To entitle a judgment of the court of common pleas of the state of Pennsylvania to be enforced in this state it must appear that the court had jurisdiction of the subject matter and of the person of the defendant. That the court had jurisdiction of the subject matter of the action is conceded. I think it clear, however, that that court had no jurisdiction over the' person of the defendant. The rule is stated in Shumway v. Stillman, 6 Wend. 453, that if it appeared by the record that the defendant was not served with process, and did not appear in person or by attorney, such judgment is void; and if it appear by the record that defendant appeared by attorney, the defendant may disprove the authority to appear for him. See Kerr v. Kerr, 41 N. Y. 275; Shepherd v. Wright, 59 How. 514. The question is squarely presented, therefore, whether a judgment entered in a court of general jurisdiction in another state against a resident thereof, without the commencement of any action in which he was a party, and in which no proceeding was taken to bring him into court by service of process, either personal, by publication, or by any other method of substituted service, can be enforced in the courts of this state, the judgment debtor having subsequently become a resident of this state, where the judgment sought to be enforced requires -the defendant to pay a sum of money. There is no question here as to the sufficiency of substituted service, or whether the defendant is bound by the law of the state of his domicile which provides for the service of process by mail or in some other way than by personal service; jurisdiction over the person of the defendant was never acquired because no attempt was made to summons the defendant to appear in court.
The fundamental law of this state and nation requires that no person shall be deprived of life, liberty or property without due process of law.
*490By the note which is recited as the foundation of this judgment no consent or authority was given to the clerk of the court to enter any judgment upon it. The pretended judgment sought to be enforced was entered long before the note was due and when the defendant was not liable. The authority for an attorney to appear for him and consent to the judgment, gave no authority to the clerk of the court to enter a judgment without such an appearance and without notice. To hold that this defendant has had his day in court and has had a right to be heard, contradicts the whole evidence and the record sought to be enforced, and to allow a recovery in the courts of this state against a citizen of this state without giving him an opportunity to impeach the correctness of the judgment or the execution of the obligation upon which the pretended judgment in Pennsylvania was recovered, would be to deprive this defendant of his property without due process of law. At no time has he had an opportunity to be heard; at no time has he had any opportunity to show that he was not liable for the debt.
It is not necessary to determine whether or not this judgment could have been enforced in Pennsylvania. It is sufficient to say that it is not enforceable in this state against a citizen of this state.
I think, therefore, that the judgment should be reversed.
